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5    Attorney for Defendant
6    EDWIN FORREST LUDWIG, III
7

8                                 UNITED STATES DISTRICT COURT
9                                EASTERN DISTRICT OF CALIFORNIA
10   United States of America,                     No. 2:14-cr-43-KJM

11                  Plaintiff,                     MOTION FOR USMS TO PAY FOR
                                                   DEFENDANT’S TRANSPORTATION
12            vs.                                  FROM TULSA, OKLAHOMA TO
                                                   SACRAMENTO, CALIFORNIA, ONE
13   Edwin F. Ludwig, III                          NIGHT LODGING AND RETURN
                                                   TRANSPORTATION FROM
14                  Defendant.                     SACRAMENTO, CALIFORNIA TO
                                                   TULSA, OKLAHOMA AND
15                                                 [PROPOSED] ORDER

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              Mr. Ludwig, III, is a resident of Okmulgee, Oklahoma. He is scheduled for both a status
17
     conference and a status of counsel court appearance on April 29, 2015. I would also like to take
18   this opportunity to meet with my client to discuss the case in person. He is indigent and without
19   sufficient financial resources to travel to court and return to Okmulgee on his own. I have

20   learned from other lawyers in this district that in situations like this, the U.S. Marshals Service is
     able to pay for transportation for defendants if they have a Court order directing them to do so.
21
     Therefore, Mr. Ludwig, III, requests the court to issue an order directing the U.S. Marshals
22   Service to pay for the defendant’s transportation from Tulsa, Oklahoma (the closest airport to
23   Okmulgee, Oklahoma), one night lodging in Sacramento, and the return transportation from

24   Sacramento, California to Tulsa, Oklahoma because he is indigent and unable to pay for the costs
     of transportation and lodging on his own.
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2    Dated: April 6, 2015
3                                                        /s/ Dustin D. Johnson
                                                         Dustin D. Johnson
4                                                        Attorney for the Defendant
                                                         EDWIN F. LUDWIG, III
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7           The United States Marshal is directed to provide round-trip transportation from Tulsa,
8    Oklahoma to Sacramento, California on April 28-29, 2015, for defendant’s appearance at the
9    above-described proceedings, and subsistence not to exceed the amount authorized as a per diem
10   allowance for travel under Title 5 U.S.C. § 5702(a). This request is authorized pursuant to 18
11   U.S.C. § 4285.
12   Dated: April 7, 2015.
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                                              PLEADING TITLE
